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Robert R Cobleigh

President
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                     FIRST AMENDMENT TO MASTER LEASE AGREEMENT

       THIS FIRST AMENDMENT TO MASTER LEASE AGREEMENT (this “First Amendment”), dated as
of April 29 2020, is by and between PEAPACK CAPITAL CORPORATION (the “Lessor”), YRC
ENTERPRISE SERVICES, INC., as agent for and on behalf of the applicable Lessee Affiliate (the “Lessee”),
YRC INC., and USF REDDAWAY INC. (each, a “Lessee Affiliate”).

                                               RECITALS:

      A.     Lessor and Lessee entered into a certain Master Lease Agreement as of August 25, 2017
(“Master Lease Agreement”) whereby approved Lessee Affiliates (as such term is defined in the Master Lease
Agreement) have leased certain Equipment from Lessor pursuant to various Schedules to the Master Lease
Agreement (each Schedule shall be deemed a “Lease” as such term is defined in the Master Lease
Agreement);

        B.    Schedule No. 1 to the Master Lease Agreement, dated as of October 26, 2017, Schedule No.
2 to the Master Lease Agreement, dated as of November 21, 2017, and Schedule No. 4 to the Master Lease
Agreement, dated as of November 13, 2018, are each between YRC Inc. as Lessee Affiliate (“YRC Inc.”) and
Lessor;

        C.     Schedule No. 3 to the Master Lease Agreement, dated as of December 29, 2017, and Schedule
No. 5 to the Master Lease Agreement, dated as of December 27, 2018, are each between USF Reddaway Inc.
as Lessee Affiliate (“Reddaway”) and Lessor;

       D.      Due to the current COVID-19 pandemic, both YRC Inc. and Reddaway have requested that
Lessor grant them each a six (6) month deferral of their Base Monthly Rental payments due under their
respective Schedules listed above;

      E.       Lessor has agreed to the condition provided in Recital D provided that Lessee provide Lessor
with an additional report that Lessee prepares on a regular basis;

       NOW, THEREFORE, in consideration of the mutual agreements contained herein and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Lessee, YRC Inc.,
Reddaway and Lessor hereby agree to amend the Master Lease Agreement, and the five (5) Leases specified
above as follows:

       1. Lessor agrees to a six (6) month deferral of Base Monthly Rental payments for YRC Inc. for
          Schedule No.1, Scheduled No. 2 and Schedule No. 4, beginning with the Base Monthly Rental
          payment due April 1, 2020 and continuing and including the Base Monthly Rental payment due on
          September 1, 2020, On October 1, 2020, YRC Inc. shall resume making its regularly-scheduled
          Base Monthly Rental payments for Schedule No. 1, Schedule No. 2 and Schedule No. 4 pursuant
          to the terms of each Lease;

       2. Lessor agrees to a six (6) month deferral of Base Monthly Rental payments for Reddaway. for
          Schedule No.3 and Schedule No.5, beginning with the Base Monthly Rental payment due April 1,
          2020 and continuing and including the Base Monthly Rental payment due on September 1, 2020,
          On October 1, 2020, Reddaway Inc. shall resume making its regularly-scheduled Base Monthly
          Rental payments for Schedule No. 3 and Schedule No. 5 pursuant to the terms of each Lease;

       3. The term “TRAC Percentage” as referenced in Rider No. 1 to Schedule No. 1, Rider No. 1 to
          Schedule No. 2, Rider No. 1 to Schedule No. 3, Rider No.1 to Schedule No. 4, and Rider No. 1 to
          Schedule No. 5 shall be defined as “50%”.
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       4. In section 3 of the TRAC Purchase Option provision in Rider No. 1 to Schedule No. 1, Rider No. 1
          to Schedule No. 2, Rider No. 1 to Schedule No. 3, Rider No.1 to Schedule No. 4, and Rider No. 1
          to Schedule No. 5, the percentage stated in the fourth to last sentence thereof shall be “37.9703%”.

       5. For as long as the deferral of Base Monthly Rental payments is in effect, Lessee hereby agrees to
          provide its 13-week Cash Flow Forecast Report to the Lessor on at least a bi-weekly basis.

        Except as expressly modified hereby, the terms and conditions of the Master Lease Agreement and
each Lease remain in full force and effect, and are hereby ratified and confirmed in all respects. In the event
of a conflict between this First Amendment and the Master Lease Agreement and/or any Lease, the terms of
this First Amendment shall govern. Capitalized terms used in this First Amendment which are defined in the
Master Lease Agreement and/or Lease shall have the same meanings as ascribed to them in the Master Lease
Agreement and/or Lease.

     IN WITNESS WHEREOF, Lessee, YRC Inc., Reddaway and Lessor each have caused this First
Amendment to be duly executed and delivered as of the date first above written.

LESSEE: YRC ENTERPRISE SERVICES, INC.

By: __________________________________

       Mark D. Boehmer
Name: _______________________________
          Vice President & Treasurer
Title: _________________________________

LESSEE AFFILIATE: YRC INC.

By: __________________________________

        Mark D. Boehmer
Name: _______________________________
          Vice President & Treasurer
Title: _________________________________

LESSEE AFFILIATE: USF REDDAWAY INC.

By: __________________________________
        Mark D. Boehmer
Name: _______________________________
          Vice President & Treasurer
Title: _________________________________

LESSOR: PEAPACK CAPITAL CORPORATION

By: __________________________________
        Robert R Cobleigh
Name: _______________________________

          President
Title: _________________________________




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                       AMENDED AND RESTATED SCHEDULE NO. 2

This Amended and Restated Schedule No. 2 dated November 21, 2022 (the “Schedule”) between
Peapack Capital Corporation (the “Lessor”) and YRC Inc. (d/b/a YRC Freight) (the “Lessee”)
incorporates by reference the terms and conditions of Master Lease Agreement dated August 25,
2017 between Lessor and, inter alia, YRC Enterprise Services, Inc. (the “Master Agreement”) and
constitutes a separate lease between Lessor and Lessee. The Schedule and Master Agreement as
incorporated herein are hereinafter referred to collectively as the “Lease”. All capitalized terms
used herein but not defined herein shall have the same meanings ascribed to them in the Master
Agreement. This Schedule (a) continues, as amended hereby, the original Schedule No. 2 between
Lessee and Lessor dated November 21, 2017 (as amended, the “Original Agreement”), (b) does
not extinguish or otherwise reduce the obligations created by the Original Agreement, (c) does not
constitute a novation, and (d) continues in full force and effect the Original Agreement except as
expressly set forth in this Schedule.

1. Equipment: See Exhibit A attached hereto.

2. Equipment Delivery Location (or Titling Jurisdiction for Vehicles (defined below) subject to
   certificates of title): The titling jurisdiction is Indiana.

3. Total Equipment Cost: $9,088,181.76

4. Base Term: Seventy two (72) Months

5. Base Term Commencement Date: November 21, 2017

6. Base Term End Date: November 21, 2023

7. Due Dates of Base Monthly Rental Payments: The 21 st day of each month, commencing with
   December 21, 2017

8. Date of Last Base Monthly Rental Payment: November 21, 2023

9. Base Monthly Rental: $109,949.46 (plus applicable sales/use tax)

10. Base Monthly Rent Paid in Advance or Arrears: Arrears

11. Supplier: American Trailer and Storage, Inc.

12. Equipment Return Location: Anywhere in the continental United States as determined by
    Lessor.

13. Stipulated Loss Value: See attached Exhibit B to this Schedule. Stipulated Loss Value means,
    with respect to any Item, the product of the Total Equipment Cost of such Item times the
    percentage applicable to the due date for the Base Monthly Rental payment for which the
    Stipulated Loss Value is being calculated, as set forth on Exhibit B attached hereto, except that
    following the expiration of the Base Term, the applicable percentage shall be the last percentage
    set forth on Exhibit B attached hereto. For the avoidance of doubt, Stipulated Loss Values are
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   in addition to any unpaid Base Monthly Rental payments due on or prior to the same day.

14. Special Terms:

       a. Authorization for Electronic Payments: Lessee agrees to originate base monthly lease
          payments to Lessor or its assigns via Automated Clearinghouse (ACH) from Lessee’s
          account maintained with its financial institution.

       b. Guaranty. Notwithstanding anything to the contrary herein, the parties acknowledge
          and agree that this Lease is guaranteed by Yellow Corporation

       c. Titled Equipment: The Equipment contains one or more titled vehicles (individually,
          a “Vehicle” and collectively, the “Vehicles”). Each Vehicle shall be used
          predominantly in the United States in Lessee’s business in accordance with all
          applicable governmental and insurer titling requirements and limitations. Title to each
          Vehicle shall at all times remain in Lessor, or Lessor’s Assignee(s) as owner or, if
          permitted under the applicable vehicle titling statutes, as lienholder. Lessee hereby
          grants to Lessor an irrevocable power of attorney coupled with an interest in Lessee’s
          name (a “Power of Attorney”), to apply for a certificate of title for any Vehicle that is
          required to be titled under the laws of any jurisdiction where the Vehicle is or may be
          used and/or to transfer title thereto upon assignment by Lessor to an Assignee or upon
          the exercise by Lessor of its remedies upon an Event of Default by Lessee under the
          Lease. In furtherance of such grant, Lessee shall provide a written Power of Attorney,
          in form and substance satisfactory to Lessor, upon Lessor’s request. If Lessee fails to
          perform or comply with any of its agreements with respect to titling of Vehicles, Lessor
          may perform or comply with such agreements in its own name or in Lessee’s name as
          attorney-in-fact and the amount of any payments and expenses of Lessor incurred in
          connection with such performance or compliance, together with interest thereon at the
          rate of 1% per month from the date Lessor made such payments or incurred such
          expenses until payment is received by Lessor, or if such rate shall exceed the maximum
          rate of interest allowed by law, then at such maximum rate, shall be deemed rent
          payable by Lessee upon demand.

          Notwithstanding anything contrary contained in the Master Agreement, the following
          provisions shall apply to each Vehicle:

           1) Lessee shall, at Lessee’s own expense, register, title and license each Vehicle in
              the manner prescribed by Lessor as required by the applicable government or
              regulatory agency(ies). Lessee will do whatever may be necessary to have a
              statement of the interest of Lessor or any Assignee of Lessor in any Vehicle noted
              on any certificate of title relating to any Vehicle and will deliver said certificate to
              Lessor. In event Lessor registers, titles and/or licenses any Vehicle, Lessee shall
              immediately reimburse Lessor for all expenses relating thereto.

               Lessee shall pay or provide for payment of all operating expenses of all Vehicles,
               including without limitation, gasoline, oil, anti-freeze, other fluids, servicing,
               repairs, storage, towing and fines.



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           2) Lessee shall require any operator of the vehicle to be properly licensed, trained
              and able to perform the functions necessary for safe operation. Lessee hereby
              covenants that it shall not permit its employees, representatives or agents to use
              any Vehicle for illegal purposes, including, without limitation, the illegal
              transportation of controlled substances, firearms, explosives, or hazardous
              materials.

           3) Lessee shall be responsible for all fees, traffic summonses, penalties and fines that
              may be imposed due to the use of the Vehicle.

           4) Lessee shall provide to Lessor any documentation pertaining to any Vehicle as
              Lessor may, from time to time, reasonably request. Including but not limited to the
              location, mileage and condition of any or all Vehicles.

       d. TRAC Rider: The TRAC provisions described on Rider No. 1 attached hereto are hereby
          made applicable to and incorporated into this Schedule.

       e. Mobile Equipment: Notwithstanding anything to the contrary in the Master
          Agreement, Lessor acknowledges that the Equipment is mobile and may be moved
          to additional locations so long as Lessee keeps the Equipment in its sole possession
          and control, except that Lessee may store any Item of the Equipment at a
          customer’s location for a limited period of time and in the ordinary course of
          business, and except when any Item of Equipment is undergoing required repairs.
          Upon Lessor’s request, Lessee shall promptly provide Lessor the then current
          location of the Equipment.

15. Maintenance and Return Conditions for Vehicles: Without limiting the obligations of Lessee
    under the Lease, Lessee shall, at its expense, do the following:

       a. Lessee shall ensure that all Vehicles and their operations conform to all applicable local,
          state, and federal laws, health and safety guidelines. Upon return, the Vehicles will be
          complete and operational with all components as originally supplied and will have
          passed U. S. Department of Transportation or appropriate regulatory agency
          requirements for operation. If applicable, an inspection sticker or certificate will be
          furnished to Lessor verifying compliance with any regulatory requirements. Lessee shall
          satisfy all legal and regulatory conditions necessary for Lessor to sell or lease the
          Vehicles to a third party. Lessee will keep all licenses and operating certificates required
          for operation of the Vehicles current during the Lease Term.

       b. Upon return, each Vehicle and its components shall meet all of their applicable
          manufacturer’s specifications for performance under full rated loads. In addition, each
          Vehicle must be maintained throughout the Lease Term and returned upon the expiration
          or termination thereof in accordance with all of the following conditions:

             i.   Tires. All tires shall be matched on each Vehicle by the same type and tread
                  design, original size, and manufacturer, and have a minimum of 12/32 inch of
                  remaining tread depth. All front tires shall be original casings; rear tires may be
                  either casings or recapped casings. All tires shall be free of flat or bald spots,


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                   cupping, dry rot, cuts and exposed cords.

             ii.   General Condition. The Vehicles must be able to pass Federal Highway
                   Administration inspection. The Vehicles shall be structurally sound with no
                   material structural or mechanical damage, in good overall appearance, clean with
                   no missing or damaged parts, ordinary wear and tear excepted. The Vehicles shall
                   be free of any material rust and corrosion. No glass shall be broken or cracked,
                   no upholstery shall have any cuts or burns and there shall be no physical damage
                   to exterior or interior materials, other than from normal use, that exceeds $500 in
                   the aggregate to repair and no physical damage from accidents. Upon return, all
                   Vehicles shall be completely de-identified, including but not limited to all
                   commercial logos, advertising, graffiti, Lessee insignia and lettering. The de-
                   identified surfaces shall be repaired and ref inished in such a way that the area
                   blends in with the remainder of the item’s overall appearance. Manufacturer’s
                   identity plates and markings shall not be removed or obscured.

            iii.   Documents and Records. Written records of scheduled and other maintenance
                   and repair work done shall be kept, dated, and signed by the appropriate authority.
                   A service history or log will be maintained during the Lease Term, in English,
                   and a copy provided to Lessor upon request during the Lease Term, or at the
                   expiration or other termination (by acceleration or otherwise) of the Lease. All
                   maintenance records, maintenance record jackets, repair jackets, repair orders,
                   license plates, registration certificates, and all other similar documents, in their
                   entirety, must be returned to Lessor.

            iv.    Brakes. Brake drums and linings shall not be cracked and shall not exceed
                   manufacturer’s recommended wear limits. Brake linings shall have a minimum
                   of 3/8 inch of remaining wear on each lining.

             v.    Maintenance.      Lessee shall follow the manufacturer’s recommended
                   maintenance and service schedule, including, without limitation, manufacturer’s
                   schedule of engine oil change and sampling, to the extent required to validate any
                   warranty, at Lessee’s sole cost and expense. Any maintenance or repair work
                   shall comply with the guidelines and procedures as specified by the
                   manufacturers of the Vehicles or each component of the Vehicles. Lessee will
                   use only original manufacturer’s approved replacement parts and components in
                   the performance of any maintenance and repair of the Vehicles. Lessee will at
                   all times maintain the Vehicles in good operational condition and appearance,
                   and shall not discriminate in such maintenance between owned or leased
                   Vehicles.

16. Tax Indemnity Rider. The income tax indemnity described on Rider No. 2 attached hereto is
    hereby incorporated into this Schedule.

All other terms and conditions of the Master Agreement shall remain in full force and effect without
change.




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The undersigned Lessee acknowledges that this Schedule authorizes the Lessor or its agents or
assignee(s) to sign, execute and file on its behalf any and all necessary documents, including UCC
financing statements and other filings and recordings, to make public this lease transaction. The
parties intend this transaction to be a true lease, but if any court or tribunal, having power to bind the
parties, should conclude that all or part of this Schedule is not a true lease but is in the nature of a
sale, consignment, or other transaction, the parties intend and the Lessee hereby grants a continuing
security interest in the Equipment from the date of this Schedule to secure the payment of all Lessee’s
indebtedness to Lessor.

IN THE EVENT OF ANY CONFLICT BETWEEN THE PROVISIONS OF THE MASTER
AGREEMENT AND THIS SCHEDULE, THIS SCHEDULE SHALL PREVAIL.

THIS SCHEDULE TOGETHER WITH THE MASTER AGREEMENT, ANY ADDITIONAL
PROVISION(S) REFERRED TO IN HEREIN OR THEREIN, AND ANY ADDENDA,
ANNEXES, EXHIBITS OR RIDERS EXECUTED BY LESSOR AND LESSEE WHICH
REFERENCES THIS SCHEDULE CONSTITUTE THE ENTIRE AGREEMENT BETWEEN
THE LESSOR AND LESSEE AS TO THE LEASE AND THE EQUIPMENT.

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LESSOR: Peapack Capital Corporation                   LESSEE: YRC Inc. (d/b/a YRC Freight)

By:                                                   By:

Name:                                                 Name: Anthony P. Carreño

Title:                                                Title: Senior Vice President, Treasury



This original executed counterpart of this Schedule is hereby marked as “Original” and constitutes
the chattel paper of this Schedule. Any executed counterparts of this Schedule that do not include
the immediately preceding sentence do not constitute chattel paper.




                        Signature page to Amended and Restated Schedule No. 2
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               EXHIBIT A TO AMENDED AND RESTATED SCHEDULE NO. 2

  DESCRIPTION OF EQUIPMENT SUBJECT TO AMENDED AND RESTATED SCHEDULE
                                 NO. 2


  426 2018 Hyundai Translead 28’ HT Composite Dry Van Trailers, more particularly described
  as follows:



    Vin List:       YRC Unit #   Purchase Price     Delivery I   Delivery II     FET        Total
3H3V281C1JT744432    136500        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C3JT744433    136501        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C5JT744434    136502        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C7JT744435    136503        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C9JT744436    136504        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C0JT744437    136505        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C2JT744438    136506        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C4JT744439    136507        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C0JT744440    136508        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C2JT744441    136509        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C6JT744443    136511        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C8JT744444    136512        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281CXJT744445    136513        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C1JT744446    136514        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C3JT744447    136515        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C5JT744448    136516        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C7JT744449    136517        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C3JT744450    136518        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C5JT744451    136519        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C7JT744452    136520        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C9JT744453    136521        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C0JT744454    136522        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C2JT744455    136523        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C4JT744456    136524        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C6JT744457    136525        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C8JT744458    136526        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281CXJT744459    136527        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C6JT744460    136528        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C8JT744461    136529        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281CXJT744462    136530        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C1JT744463    136531        18,773.00         150.00        125.00      2,285.76   21,333.76
3H3V281C3JT744464    136532        18,773.00         150.00        125.00      2,285.76   21,333.76


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3H3V281C5JT744465   136533     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744466   136534     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744467   136535     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744468   136536     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744469   136537     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744470   136538     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744471   136539     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744472   136540     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744473   136541     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744474   136542     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744475   136543     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744476   136544     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744477   136545     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744478   136546     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744479   136547     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744480   136548     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744481   136549     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744482   136550     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744483   136551     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744484   136552     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744485   136553     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744486   136554     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744487   136555     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744488   136556     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744489   136557     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744490   136558     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744491   136559     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744492   136560     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744493   136561     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744494   136562     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744495   136563     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744496   136564     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744497   136565     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744498   136566     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744499   136567     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744500   136568     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744501   136569     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744502   136570     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744503   136571     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744504   136572     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744505   136573     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744506   136574     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C6JT744507   136575     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744508   136576     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744509   136577     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744510   136578     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744511   136579     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744512   136580     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744513   136581     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744514   136582     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744515   136583     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744516   136584     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744517   136585     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744518   136586     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744519   136587     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744520   136588     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744521   136589     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744522   136590     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744523   136591     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744524   136592     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744525   136593     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744526   136594     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744527   136595     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744528   136596     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744529   136597     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744530   136598     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744531   136599     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744532   136600     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744533   136601     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744534   136602     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744535   136603     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744536   136604     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744537   136605     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744538   136606     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744539   136607     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744540   136608     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744541   136609     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744542   136610     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744543   136611     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744544   136612     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744545   136613     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744546   136614     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744547   136615     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744548   136616     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C0JT744549   136617     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744550   136618     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744551   136619     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744552   136620     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744553   136621     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744554   136622     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744555   136623     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744556   136624     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744557   136625     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744558   136626     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744559   136627     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744560   136628     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744561   136629     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744562   136630     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744563   136631     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744564   136632     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744565   136633     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744566   136634     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744567   136635     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744568   136636     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744569   136637     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744570   136638     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744571   136639     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744572   136640     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744574   136642     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744575   136643     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744576   136644     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744577   136645     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744578   136646     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744579   136647     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744580   136648     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744581   136649     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744582   136650     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744583   136651     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744584   136652     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744585   136653     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744586   136654     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744587   136655     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744588   136656     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744589   136657     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744591   136659     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744592   136660     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C3JT744593   136661     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744594   136662     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744595   136663     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744596   136664     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744597   136665     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744598   136666     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744599   136667     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744600   136668     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744601   136669     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744602   136670     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744603   136671     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744604   136672     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744605   136673     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744606   136674     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744607   136675     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744608   136676     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744609   136677     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744610   136678     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744611   136679     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744612   136680     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744613   136681     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744614   136682     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744615   136683     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744616   136684     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744617   136685     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744618   136686     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744619   136687     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744620   136688     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744621   136689     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744622   136690     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744623   136691     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744624   136692     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744625   136693     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744626   136694     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744627   136695     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744628   136696     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744629   136697     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744630   136698     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744631   136699     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744632   136700     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744633   136701     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744634   136702     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C4JT744635   136703     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744636   136704     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744637   136705     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744638   136706     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744639   136707     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744640   136708     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744641   136709     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744642   136710     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744643   136711     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744644   136712     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744645   136713     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744646   136714     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744647   136715     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744648   136716     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744649   136717     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744650   136718     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744651   136719     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744652   136720     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744653   136721     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744654   136722     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744655   136723     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744656   136724     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744658   136726     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744659   136727     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744660   136728     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744661   136729     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744662   136730     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744663   136731     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744664   136732     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744665   136733     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744666   136734     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744667   136735     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744668   136736     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744669   136737     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744670   136738     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744671   136739     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744672   136740     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744673   136741     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744674   136742     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744675   136743     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744676   136744     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744677   136745     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C0JT744678   136746     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744679   136747     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744680   136748     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744681   136749     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744682   136750     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744683   136751     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744684   136752     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744685   136753     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744686   136754     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744687   136755     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744688   136756     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744689   136757     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744690   136758     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744691   136759     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744692   136760     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744693   136761     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744694   136762     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744695   136763     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744696   136764     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744697   136765     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744698   136766     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744699   136767     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744700   136768     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744701   136769     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744702   136770     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744703   136771     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744704   136772     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744705   136773     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744706   136774     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744707   136775     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744708   136776     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744709   136777     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744710   136778     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744711   136779     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744712   136780     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744713   136781     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744714   136782     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744715   136783     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744716   136784     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744717   136785     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744718   136786     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744719   136787     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C6JT744720   136788     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744721   136789     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744722   136790     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744723   136791     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744724   136792     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744725   136793     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744726   136794     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744727   136795     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744728   136796     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744729   136797     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744730   136798     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744731   136799     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744732   136800     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744733   136801     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744734   136802     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744735   136803     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744736   136804     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744737   136805     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744738   136806     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744739   136807     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744740   136808     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744741   136809     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744742   136810     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744743   136811     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744744   136812     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744745   136813     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744746   136814     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744747   136815     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744748   136816     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744749   136817     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744750   136818     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744751   136819     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744752   136820     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744753   136821     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744754   136822     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744755   136823     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744756   136824     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744757   136825     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744758   136826     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744759   136827     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744760   136828     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744761   136829     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C0JT744762   136830     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744763   136831     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744764   136832     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744765   136833     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744766   136834     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744767   136835     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744768   136836     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744769   136837     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744770   136838     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744771   136839     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744772   136840     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744773   136841     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744774   136842     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744775   136843     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744776   136844     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744777   136845     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744778   136846     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744779   136847     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744780   136848     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744781   136849     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744782   136850     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744783   136851     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744784   136852     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744785   136853     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744786   136854     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744787   136855     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744788   136856     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744789   136857     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744790   136858     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744791   136859     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744792   136860     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744793   136861     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744794   136862     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744795   136863     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744796   136864     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744797   136865     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744798   136866     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744799   136867     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744800   136868     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744801   136869     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744802   136870     18,773.00         150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744803   136871     18,773.00         150.00   125.00    2,285.76    21,333.76




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3H3V281C1JT744804   136872     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744805   136873     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744806   136874     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744807   136875     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744808   136876     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744809   136877     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744810   136878     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744811   136879     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744812   136880     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744813   136881     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744814   136882     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744815   136883     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744816   136884     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744817   136885     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744818   136886     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744819   136887     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744820   136888     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744821   136889     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744822   136890     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744823   136891     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744824   136892     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744825   136893     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744826   136894     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744827   136895     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744828   136896     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744829   136897     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744830   136898     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744831   136899     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C6JT744832   136900     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744833   136901     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744834   136902     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744835   136903     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744836   136904     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744837   136905     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744838   136906     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744839   136907     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744840   136908     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744841   136909     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744842   136910     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744843   136911     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744844   136912     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744845   136913     18,773.00          150.00   125.00    2,285.76    21,333.76




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3H3V281C6JT744846   136914     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744847   136915     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744848   136916     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744849   136917     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C8JT744850   136918     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281CXJT744851   136919     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C1JT744852   136920     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C3JT744853   136921     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C5JT744854   136922     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C7JT744855   136923     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C9JT744856   136924     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744857   136925     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744858   136926     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C4JT744859   136927     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C0JT744860   136928     18,773.00          150.00   125.00    2,285.76    21,333.76
3H3V281C2JT744861   136929     18,773.00          150.00   125.00    2,285.76    21,333.76




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            EXHIBIT B TO AMENDED AND RESTATED SCHEDULE NO. 2

STIPULATED LOSS VALUE TABLE TO AMENDED AND RESTATED SCHEDULE NO. 2


 Rent Payment                    Rent Payment                     Rent Payment
                SLV Percentage                   SLV Percentage                  SLV Percentage
   Number                          Number                           Number
       1           104.10              25            80.11              49           61.95
       2           103.17              26            79.07              50           60.86
       3           102.20              27            78.03              51           59.77
       4           101.23              28            76.99              52           58.68
       5           100.26              29            75.94              53           57.58
       6            99.28              30            76.10              54           56.49
       7            98.30              31            76.25              55           55.40
       8            97.32              32            76.41              56           54.32
       9            96.33              33            76.57              57           53.24
       10           95.34              34            76.73              58           52.15
       11           94.35              35            76.89              59           51.07
       12           93.35              36            75.84              60           50.00
       13           92.35              37            74.79              61           49.66
       14           91.35              38            73.74              62           48.78
       15           90.34              39            72.68              63           47.85
       16           89.33              40            71.62              64           46.91
       17           88.32              41            70.55              65           45.96
       18           87.30              42            69.48              66           45.01
       19           86.28              43            68.42              67           44.07
       20           85.26              44            67.34              68           43.13
       21           84.24              45            66.27              69           42.19
       22           83.21              46            65.19              70           41.25
       23           82.18              47            64.11              71           40.30
       24           81.15              48            63.03              72           38.93




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                 RIDER 1 TO AMENDED AND RESTATED SCHEDULE NO. 2

                                          TRAC Provisions

This Rider No. 1 is attached to and made a part of Amended and Restated Schedule No. 2, dated as of
November 21, 2022 (the “Schedule”) between Peapack Capital Corporation (“Lessor”) and YRC Inc.,
(d/b/a YRC Freight) (“Lessee”), which is issued pursuant to and incorporates the terms of the Master
Lease Agreement, dated August 25, 2017 between Lessor and YRC Enterprise Services, Inc. (the
“Master Agreement”). All capitalized terms used herein but not def ined herein shall have the same
meanings ascribed to them in the Master Lease and the Schedule.

TRAC Purchase Option

        (1)      The “TRAC Percentage” is defined as 38.926% of the Total Equipment Cost.
Lessee and Lessor agree that the TRAC Percentage is a reasonable estimate of the fair market
value of the Equipment at the end of the Term. Provided that no Event of Default has occurred
and is continuing, Lessee may elect, by giving Lessor not less than ninety (90) days prior written
notice (which notice shall be irrevocable without Lessor’ written consent), to purchase all, but not
less than all, of the Equipment described in this Schedule (hereinafter for purposes of this Section
only, the “TRAC Equipment”) for an amount equal to the TRAC Percentage multiplied by the
Total Equipment Cost in which case all TRAC Equipment shall be sold to Lessee on an AS IS,
WHERE IS BASIS, without recourse or warranty (except that Lessor has whatever title (if any) to
the Equipment that was conveyed to it by the Supplier free of any security interest arising solely
by reason of a claim against Lessor that Lessee is not responsible to remove pursuant to the Lease).

        (2)     Unless Lessee has previously notified Lessor of Lessee’s election to purchase the
TRAC Equipment, Lessee shall provide Lessor with written notice, not less than ninety (90) days
before the expiration of the Base Term (which notice shall be irrevocable without Lessor’s written
consent), of Lessee’s intent to return the TRAC Equipment (the "End of Term Notice"). If Lessor
does not receive the End of Term Notice within the applicable time frame, the Base Term shall be
automatically extended (the “Extension Term”) without any notice or action on the part of Lessor
for three additional months (at the Base Monthly Rental amount) and shall further be extended
until the end of the second full month after the month during which the End of Term Notice is
received by Lessor. Notwithstanding the foregoing, unless Lessee has previously duly notified
Lessor of Lessee’s election to purchase the TRAC Equipment, Lessor shall have the right (but not
the obligation), at any time during the final month of the Base Term or at any time during the
Extension Term to terminate this Agreement, in which event Lessee shall be obligated to re turn
the Equipment at the end of the then-current month (the “Extension Termination Date”). Lessee’s
failure to return any Item by the Extension Termination Date in the manner and condition required
by the Lease, for any reason whatsoever, shall constitute an immediate Event of Default under the
Lease notwithstanding the making of any payment or the rendering of other performance
hereunder. Upon return of the Equipment at the end of any Extension Term, the terms of
subsection (3) below shall be applicable and the TRAC Percentage shall remain unchanged.

       (3)    Unless Lessee purchases all of the TRAC Equipment in accordance with the terms
hereof, Lessee shall return to Lessor all of the TRAC Equipment, pursuant to the return provisions



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of this Lease. Lessee's failure to return the TRAC Equipment as required hereunder shall constitute
an Event of Default hereunder and the Base Term shall, at Lessor’ election, be extended on a month-
to-month basis. Upon return of the TRAC Equipment and provided that no Event o f Default has
occurred and is continuing, Lessor shall sell or otherwise dispose of the TRAC Equipment in a
commercially reasonable manner. If the amount received by Lessor for the TRAC Equipment in
such sale or disposition exceeds the sum of the TRAC Percentage multiplied by the Total
Equipment Cost, plus the amounts remaining due under this Agreement and all costs of sale, any
such excess shall be returned by Lessor to Lessee as a rental adjustment. If the amount received
by Lessor for the TRAC Equipment in such sale or disposition (after deduction of any amounts
remaining due under this Agreement and all costs of sale) is less than the TRAC Percentage
multiplied by The Total Equipment Cost, then any such deficiency shall be paid by Lessee to
Lessor as a terminal rental adjustment provided however that in no event shall Lessee be obligated
to pay to Lessor, as a terminal rental adjustment under the TRAC provision, any such amount in
excess of 31.926% of the Total Equipment Cost of the TRAC Equipment. Lessee agrees to
facilitate any such sale or disposition of the TRAC Equipment and hereby grants to Lessor, its
agents or employees, the right to enter Lessee’s premises for the purpose of selling or otherwise
disposing of the TRAC Equipment. Lessee shall reimburse Lessor for all costs of such sale or
disposition, including all taxes, advertising costs or other commissions or expenses charged against
the sales price. Lessee shall execute Lessor’s approved form TRAC certificate at or before clos ing.




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                 RIDER 2 TO AMENDED AND RESTATED SCHEDULE NO. 2

                                         Tax Indemnification

This Rider No. 2 is attached to and incorporated into Amended and Restated Schedule No. 2 dated
as of November 21, 2022_(the “Schedule”) between Peapack Capital Corporation (the "Lessor")
and YRC Inc., (d/b/a YRC Freight) (“Lessee”), which is issued pursuant to and incorporates the
terms of the Master Lease Agreement dated August 25, 2017, between Lessor and YRC Enterprise
Services, Inc. (the “Master Agreement”). All capitalized terms used herein but not defined herein
shall have the same meanings ascribed to them in the Schedule or the Master Agreement, as
applicable.

        1.      Lessee represents and warrants that: (a) it believes that it is reasonable to estimate
that the useful life of the Equipment exceeds the lease term (including any interim and fixed rental
renewal periods) by the greater of one (1) year or twenty (20) percent of such estimated useful life,
and that said Equipment will have a value at the end of the lease term, including any fixed rate
renewal period, of at least twenty percent (20%) of the original equipment cost of the Equipment,
without including in such value any increase or decrease for inflation or deflation during the
original lease term; (b) the Equipment is, and will be used by Lessee so as to remain, property
eligible for the MACRS Deductions (as defined below); (c) each item of Equipment constitutes
"qualified property" pursuant to Section 168(k) of the Internal Revenue Code of 1986, as now or
hereafter amended (the "Code"), (d) the Equipment shall be treated as originally placed in service
not earlier than the date of the execution and delivery of the Schedule, or in the event the
transaction is a sale-leaseback transaction, Lessee shall not have placed in service the Equipment
subject to the Schedule at any time prior to three (3) months before the execution and delivery of
the Schedule.

         2.      If, as a result of any Event of Default, act or omission of Lessee or breach of any
representation or warranty of Lessee either (a) Lessor in computing its taxable income or liability
for tax, shall lose, or shall not have, or shall lose the right to claim or there shall be disallowed or
recaptured for Federal and/or state income tax purposes, in whole or in part, the benefit to Lessor
of MACRS Deductions, or (b) Lessor shall become liable for additional tax (including, without
limitation, as a result of Lessee having added an attachment or made an alteration to the Equipment,
including (without limitation) any such attachment or alteration which would increase the
productivity or capability of the Equipment so as to violate the provisions of Rev. Proc. 2001-28,
2001-1 C.B. 1156 (as it may hereafter be modified or superseded) (hereinafter referred to as a
"Loss")), then Lessee shall pay Lessor the Tax Indemnification Payment as additional rent and
Lessor shall revise the table of Stipulated Loss Values attached to the Schedule as Exhibit B to
reflect the Loss.

        3.     As used herein: (a) "MACRS Deductions" shall mean the deductions under Section
167 of the Code, determined in accordance with the modified Accelerated Cost Recovery System
with respect to the original equipment cost of any Item of the Equipment using the accelerated
method set forth in Section 168(b)(1) of the Code; (b) "Lessor" shall be deemed to include the
consolidated Federal taxpayer group of which Lessor is a member; and (c) "Tax Indemnification
Payment" shall mean such amount as, after consideration of (i) all taxes required to be paid by
Lessor in respect of the receipt thereof under the laws of any governmental or taxing authority in


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the United States, and (ii) the amount of any interest or penalty which may be payable by Lessor
in connection with the Loss, shall be required to cause Lessor's after-tax net return (the "Net
Return") to be equal to, but no greater than, the Net Return computed consistently with current tax
laws (and with the assumption that Lessor is taxed at the highest marginal Federal and sta te tax
rates) as of the date of the Schedule that would have been available to Lessor had the Loss not
occurred.

        4.      Lessor shall be responsible for, and shall not be entitled to a Tax Indemnification
Payment by Lessee on account of, any Loss arising solely as a direct result of the occurrence of
any one or more of the following events: (a) the failure of Lessor to timely and properly claim
MACRS Deductions, as applicable, in the tax return of Lessor other than as a result of changes in
the Code or applicable regulations unless in the reasonable opinion of Lessor's tax counsel there is
no basis for such claim; (b) the failure of Lessor to have sufficient taxable income before
application of the MACRS Deductions to offset the full amount of such MACRS Deductions other
than as a result of changes in the Code or applicable regulations; (c) any event which by the terms
of the Lease requires payment by Lessee of the Stipulated Loss Value if such payment is thereafter
actually made to Lessor, to the extent that such payment reimburses Lessor for amounts otherwise
payable by Lessee pursuant hereto; or (d) a disqualifying disposition due to sale of any item of the
Equipment or the Lease by Lessor prior to a Default.

         5.     Lessor promptly shall notify Lessee in writing of such Loss and Lessee shall pay to
Lessor the Tax Indemnification Payment within thirty (30) days of such notice. For these purposes,
a Loss shall occur upon the earliest of: (a) the happening of any event (such as disposition or
change in use of any item of the Equipment) which will cause such Loss; (b) the payment by Lessor
to the Internal Revenue Service or state taxing authority of the tax increase (including an increase
in estimated taxes) resulting from such Loss; (c) the date on which the Loss is rea lized by Lessor;
or (d) the adjustment of the tax return of Lessor to reflect such Loss.

       6.      The obligations of Lessee under this Rider No. 2, which accrue during the term of
the Schedule, shall survive the expiration or termination of the Schedule.

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